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                   IN THE DISTRICT   COURT OF THE UNITED STATES
                         FOR THE DISTRICT OF SOU?H CAROLINA
                                 COLU!'B IA DIVI SION


UNITED STATES OF AMERICA                              Crimina.L No:      3:21-619


                                                               PI.EA AGRE,E!@NT
SAMT'EL STURKIE .'ACXSON, JR

                                Gcaera:. p:ovieioas

         This    PLEA    AGREEMENT   is   made    .hi" l3{L           day or   &+aL,
202! t        the United States of America, as represented by
          between

Acting United States Attorney Rhett Dehart, Assistanl United
States Attorney Brook Andrews i             the Defendant., Salf,t& gAqRf,If
JACI(SON       .18,., and Defendant, s att.o!ney, Dayne philli.ps.
         IN CONSIDERATION      of t.he mutual promises made herein, the
parties agre€ as fo]Lows:
1.       The   Defendant agrees to waive Indictment and arraignment,
         and plead guilty lo an fnformation charging wire fraud in
     violation of Title 18, Uniied SlatesI Code, Section 1343.
           In order to sustain its burden of proof, the
     Govelnment is required to prove the follcwing:

                                          Count   L


                Eirst, that t.he defendant devised cr intended Eo
               devise a sche:ne to defraud at for obta i.ning money or
               property by means of false or fraudulent                        pre tenses,
               representaEicns, cr promises that were materiali                     and
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        B     Second, that, for the purpose of executing the scheme,
              the defendant transttitted or caused to be transmitted
              by means of wire, radio, or television cormunication
              in interstate or foreign commerce any writings, s igns,
               signals, pictures, or     sounds.

        The   penalty for this offense is:
               up to 20 years in prison, a fine of up to 9250,000,
               supervised release of up to 3 years, and a speclal
               assessment   of   9100.

2       The Defendant undelstands and agrees that monetary
        penalties ti.e., specia.L assessments, restitutj.on, fines
        and other paynents requlred under the senteocel imPosed by
        the Court are due and payable immediately and gubject to
        enforcement by Ehe United States as civil jud$Ents,
        pursuant to 18 U.S.c, S 3613' In the event the court
        imposes a schedule for Pal4oent. of restitution, the
        Defendant also understands that payments made in accordance
        with installment schedules set by the Court are minimum
        payments only and do not preclude the Government from
         seeking to enforce the j udgrment against other assets of the
         Defendant   at any time, as provided in 18 U.S.C. SS 3512,
         35i3 anct 3564 (m) .
         The Defendani further agrees :o enter into the Bureau of
         Prisons Inmate FinanciaL RePalrmen: Program if sentenced to
                                          2
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    a term of         incarceration with            an        unsaeisfied monetary
    penalEy,        The Defendant further                 understands that              any
    monetary penalty          imposed        is         not         dischargeable in
    bankruptcy.
         A.    Speclal Assessment: Pursuant to 18 U.S.C. S                           3013,
               the Defendant      must       pay    a     special        assessment of
               S   100.00 for each felony count for which he is
               convicted. This special assessment must be paid
               at or before the time of the guilty plea hearing,
               or during participati.on in the Bureau of Prisons
               Inmate Financial Bepalment Prograr, j-f this plea
               resuLts in incarceration,
         E     Restitution: The            Defendant          agrees Eo make full
               lestitution under 18 U. S. C. S 3556 in an                           amount

               to be determined by the Court at the time of
               sentencing, which arnount is not                        l imi   teci to the
               count(s) Lo which .he Defendant pl ed gu11ty, but
               will     lncl-ude restituti-on                 to     each      and every
               identifiable     victim       who    may       have been harmed by
               his     scheme or pattern                 af        criminal      activity,
               pursuanL to 18 u.s.c.                s     3563.         The      Defendant
               agrees to cooperate fully                 with the Goverrunent in
               idenri.fying      aII        vicEins.           Uporl demand, rhe
               Defendant shall             submit        a personal financ!al.
                                       3
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                   statement under oath        and   submit to interviews by
                   the Government and the              S. Probation Office
                                                      U.

                   regarding the Defendantr      s   capacity to satisfy any
                   fines     orresti-tution. The Defendant expressly
                   authori zes   the U.S. Attorneyrs Of fj-ce to
                   in8nediately obtain a credit report on the
                   Defendant in order to evaluate the Defendant's
                   abillty   to satisfy any f.inancial obligation
                   i-mposed by the Court. ?he Defendant understands

                   that the Defendant has a continuing obligation to
                   pay in full as soon as possible any financial
                   obligation imposed by the court..
          c        Eines: The Defendant understands that the Court
                   may lmpose     a fine pursuant to 18 U.S.C. SS 3571
                   and 3572.
3,   The Defendant understands that the obligatj.ons of the
     Goverrunent     within       Lhe   Plea     Agreement are expressly
     contingent      upon     Lhe Defendant's abiding by federat          and

     state    laws and complying        HiEh any bond executed 1n t.his
     case. In the event Ehat the Defendant fails to conply with
     any of the provisions of this Agreement, either express or
     itrlplied, the Government wi1]" have the righr., at its sole
     election,      io   void all       of its       obligations under this
     Agreement and the Defendant will                not have any rj-ght to
                                        4
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        withdraw his plea of guilty to the offense (s) enumelated
        herein.




                           Co@alatLop ard Eorf.:itura
4       The Defendant agrees to be fuLly truthful                    and forthright
        wj.th federal, state and Iocal lar.r enforcenent agenci-es                        by

        providing fuII, conplet.e and Lruthful lnformation about aII
        crirninal activlties          about which he has knowJ-edge.                    The

        Defendant nust           provide        ful1,    complete and truthful
        debriefings about these unlawfuf acLivities aqd nust fully
        dj.sclose and provide Eruthful informat.ion to the Government
        including any books.            Papers. or documents or any other
        items of evidentiary value to the investigation.                                The

        Defendant must also        tesEify fuLly and tluthfu1ly before any
        grand juries and at any trials                   or other ploceedings if
        called    upon     to do       so   by     the   Government, subject              ao

        prosecut.}.on    for perl ury for not restifying truthrully.                    Tre

        faiLure    of     Lhe    De   fendant     to be fully         Erut.hf   uI      and

        forthright aL any stage will-, aE Ehe sole election of the
        Government,      CAUSE   the obligrat ions of the Government              wi   thi   n

        this   Agreemer-E to become         nulL an.-i vo id.        Fur   tlrer, -il is
        expressly agreed that if the obliqations of the                      Gcvernment

        within this      Agreement become         nul] and void due to che Lack
                                            s
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    of truthfulness on the part of the Defendant, the         Defendant
    understands tlrat:
         A.   the Defendant briIl not be permitted to          withdra$,
              his plea of guilty          to the offenses     descx ibed
              abovei
         B    alL addi.tional charges known to the Goverrunent
              may be f1led in the app.opriate district,,

         C.   the   Government   hrilL argue for a maximun sentence
              for the offense to which the Defendant has
              pleaded guilty; and
              the GovernDent wlll use any and aII information
       ,:.
              and testimony provided by the Defendant pursuant
              to   thj-s Agreement, or any prior                proffer
              agre€ments, in the prosecution of the          Defendant
              of all charges.
   The Defendant agrees to submit to such polygraph
   examinations as nay be requested by the Government and
   agrees Ehat any such examinations shal-l be performed by a
   polygraph exa&iner selected by the Government. Defendan!
  further agrees that his refusa.l to take or his failure to
  pass any such polygraph examination to the Government, s
  satisfaction will result, at the covern:nent, s sole
  di.scretion, in the obiigations of the Government within the
  Agreement becoming nu11 and void.
                                 6
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6      The Government agrees that any se l f_ incrimi.nati ng
       lnformatj.on provided by the Defendant as a resu]-t of the
       cooperation reguired by the terms of this Agreelflent,
       al,though available to the Court, vrill not be used. against
       the Defendant in deLermining t.he Defendant, s applicable
       guideline range fo! sentencing pursuant to the United
       States Eentencing CoEErission GuideLines. The provisions of
       this paragraph shall not be applied to restriet any such
       lnformat.ion   !

            A.    known tso    the   Government   prior to the date of this
                  Agreement    i
            B.    concerning the existence of prior convictions            and
                  sentences i

            C.    in a prosecution for perjury or giving a false
                  stat.ementi or
            D.    in Ehe event the Defendant breaches any of the
                  ter$s of the Plea AgreemenL; or
            E.    used to rebut any evidence cr arguments offered
                  by or on behalf of Lhe Defendant. (including
                               or issues raj.sed sua spol.i te by the
                  arguments made
                  DistricE Court, at any stage of c.he criminal
                  prosecuEion (incl,uding bail,       tria.L, and
                  senrencing ) .


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7      Provided the          Defendant cooperates pursuant to                      the
       ptovisions of this Plea Agleenent, and tfrat cooperation is
       deemed by          the   Governmen! as          providing      substantial
       assistance in the investlgation or prosecution of another
       personf the Government agrees to move the Court for                           a

       downward departure or reduction of sentence pursuant to
       United States Sentencing           CoEunissi-on   Guidelines   S5K1   .1,    18

       U.S.c., S 3553(e) 9E Federal Rule of crimj-nal Procedure
       35   (b)   .   Any such motion by the GovernnenE is not binding
       upon the Court, and should the Coult deoy the motj.on, the
       Defendant wilL have no right to withdraw his plea.
       The Defendant agrees to voluntarily surrender to, abandon,
       and not to contest the forfeiture             of any and al-l assets        and

       property,        or portions       thereof,    whj.ch are subject to
       forfeiture pursuant to any provision of 1aw, including but
       not Iimited tc, property in the possession or control of
       the Defendant or Defendant's nomj-nees, Specifically,                       the
       Defendant agrees to volunt.arj-]y surrender, and not contest
       the forfelture       of property identified         in the Information.
       and any forfeiture          BiIl        of Particulars:      a forfeiture
       judgment equal to a1i proceeds the Defendant. obtalned,
       directfy or indireccly, from the w:-re fraud offenses.                      and

       any property, real or persona.I, subject to forfelture from
       the Hire frauci offenses.
                                           8
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   !{i.th regard to      each    and every asset          listed     in   rhe
    IndictmenE or      sei zed   in    a related        investigation      or
   administrative,      state,   or IocaI action,           the    Defendant
   stipulates and agrees:
      The Defendant agrees and ccnsenis to the forfeiture of
      these asseEs pursuant to any federal criminal, civil
      judicial      or administrative      forfeiture     action.         The
      Defendant also hereby aglees t.o wai'.re all constitutional,
      statutory and prccedural challenges in any manner
       (including direct appeal, habeas corpus, or any other
      means ) to any forfeiture carried out in accordance with
      this Plea Agreeftent on any grounds, includj-ng that, the
      forfeiture descri-bed herein constiEutes an excessive
      fine, was not ploperly noticed in the charging
      instrument, addressed by the Court at the time of tne
      gui-1ty pIea, announced at sentenci.ng. or incorporated
      into the judgment.
      To its forfeiture herein, if necessary as substitute
      property under 21 U.S.C. ' 853{p), as made applicable by
      18 U.S.C. ' 982(b) (1) or any other starute, ox in a
      separate administrative or civil judlcial proceeding.
      That the Defendant has or had a possessory interesE or
      other legal interesL in each irem or proparty.
      To assist the Uniced States in the recovery of aII assets
      by (i) taking whatever sleps are necessary or requested
      by the United Stares f,o pass clear title tc the United
      Statesi tii) prevenLj.ng the disburseftent of any moneys
      and sale of any property cr assetsi (iii) not encumberj-ng
      or transferrj.ng any real estate aft.er the Defendant, s
      signing of this Pfea Agreement,. and (iv) dlrecting alt
      financial inscltutions to t.uin over and surrender to the
      United States all funds and !ecords regarding accounts
      listed in any cjgcument signed by Ehe Defendanc pursuant
      to this plea agreemenE, as crini.nal p.roceeds or
      subst.j-tuEe property.
      The Defenciant waives all righfs Eo nctice of forfeiture
      under Rule 32 2 and of any orher action or proceeding
      regarding such assets. The Defenda:rl consents and waives
      a1l rights to conpliance by the United Srates with any
                                   9
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       applicable deadlines under t8 u.s.c s 983 (a) . Any
       related adninistrative claim filed bt, the Defendant is
       hereby r,rithdrawn.
        Pursuant to Rule 32.2lbl l4), the Defendant agrees that
       the preliminary order of forfeiture r.ri11 satisfy      lhe
       notice regui'rement and wirr be finaL as to the Defindant
       at the time it is entered. In the eveDt the forfeiture
       i." "ira!.9  from rhe judgment, the Defendant
       the  forfeiture order may be incorporated into agrees
                                                      the
                                                             that
                                                          written
       judgment at any time pursuant to Rule 36.
       If rhe United States discovers that the Defendant has not
       fully disclosed aI1 assets, the United States nay seek
       forfeiture of any subsequently-discovered assets, and the
       Defendant agrees to the immediate forfeiture of any such
       assets.
      The Defendant further agrees to make a full and complete
      discl,osure of a1l assets over r.rhich Defendant  exerclses
      control and those which are held or controlled
      norninees. The Defendant agrees that Federal Rule by     of
      Crininal Procedure 11 and S 1E}1 ,B of the United SEares
      Sentencinq Co:ntnj.ssion Guj.delines wiLl not protect from
      forfeiture, assets disclosed by the Defendant      part of
      his/her cooperation. the Deiendant further as    agrees  to
      ::bTit. to a polygraph examination on the issue of aseets
      if it is deemed necessary by the united states.
      The Defendant agrees to waive any double jeopardy claims
      the Defendant rnay have as a result of a forfeiture
      proceedi.ng against. any of Ehese properties as provj.ded
      f9r bV this plea Agreement and agrees'to v,raj.ve any claims
      that the forfeiture        described herei-n constitutes        arr
      excessive fine.
      Forfeiture of the Defendant,s assets shalL not be Lreated
      as satj-sfaction of any fine, resiiEution, cost of
      imprisonruent. or any other penalt.y the court may impose
      upon the Defendarrt in addition to forfel:ure. The United
      States may use the vaLue of forfeited property for
      restitution, but is nor required to do so.

   The Defendant also agrees to voluntarily transfer al1
   riqht, tit1e, interest and claim io t.he above-described
                                  10
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    property and,/or assets to the United States of America.
    FurLhermore, the Defendant attests. under penalty of
    perjury,    that        the Defendant owns the above-descri.bed
    property and/or assets free of any liens and encunbrances,
    and Ehat no other person or entity has a clairn to the
    above-described property and,/ or assets.
                       lr.rcr.t rad Othat ?Eo?isiori!
9   The DefendanE and the Governnent stipulate and agree to the
    follogring for       purposes of calculating             the Defendant, s
    sentence pursuant to                 the    United States       Sentencing
    Com,nissi.on Guidelines       :


          A.    Eor    the purpose of calculating the Defendant, s
                base    offense level, the Defendant, s loss amount
                Coes    not exceed S3.500,000.
    The   Defendanc     understands that this stipulation is not
    binding    upon    the Court or Ehe United States probation
    Office, and that the Defendant has no right to wirhdraw                 hi.s
    pLea should Ehi.s st:.pulation nct be accepted.              Eurther,   t.ne

    DefendanE       under   s   t.ands   and     acknowledges     thar    this
    stj.pulation is bJ.:rding cn rl:e          Governmenc only   in the event
    Ehat the Defendant complies with ALL of Ehe terms of this
    Agreenent and does not. contest any of the above sE.ipulation
    or any readily provable relevant conduct.

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10.   The Defendanr   is     thar 18 U.S.C. S 3742 and 2g U.S.C.
                           avrare
      S 2255 af,ford every defendant certain rights to contest a
      conviction and/or sentence, Acknowledging those rights,
      the Defendant, in exchange for the concessions made by the
      Ggverrunent, in this plea Agreement, waives the right to
      contest either the convicti.on or the sentence in any direct
      appeal or other post-conviction action, includi-ng any
      proceedings under 29 U.S.C. S 2255. Thj.s walver does not
      apply to claims of in€ffective assistance of counsel,
      prosecutorlal nisconduct, or future changes in the law that
      affe* the Defendant, s sentence. Thls Agree ent doea not
      affect the lights or obligations of the covernment as set
      forth ln 18 U.S.C. S 3742 (b) . Nor does it tudt the     .1-




      Government in l-ts comnent,s in or responses to any post_
      sentencing matters   .


11.   lhe Defendant waives a1l rights, whether asserted directly
      or by a representative, Lo request or receive from any
      departmenE or agency of Lhe Unit.ed states any records
      perEaining to the investigation or prosecution of this
      case, includ1nq hrithout li.mitatj.on any records thar nay be
      sought under the Freedom of Information Act, 5 U.S.C, S
      552, or th€ privacy Acr af 79-14, 5 u.s.c. s 552a.
72.   The parties hereby agree lhat th:-s plea Agreement conEains
      the entire agreement of t.he part:.es; thar this p-greement
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      superaedes all       prior protnises, representations and
      statements of Lhe partiesi that this Agreement shall not
                                                                 be
      binding on any party until the Defendant tenders a pr.ea of
      guilty to the court having jurisdiction over this matter,
      that this Agreenent nay be nodified only in r"rriting siqned
      by all partiesi and Ehat any and all ot_her promises,
      replesentat.ions and statenent.s, whether made prior to,
      contemporaneous with or after thls Agreement r itEB null and
      void.




                                                 5
Date
     rr
--s1"1,                                                        JR        DEFENDANT




                                   ,
                                   -J,
Dat
                                         EY FOR THE                 T




                            M. RHETT DEIiART
                            ACTING   IT      IATES ATTORNEY

      t5 2tz.l
                                                   EWS (#1023r)
                                       A    T   UNITED STATES ATTORTiEY




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